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  8                             UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11    Aerial West, LLC,                     )   Case No: 2:18-cv-02288-JAK-SS
                                             )
 12                Plaintiff,                )
       v.                                    )   ORDER RE EX PARTE MOTION
 13                                          )   WITHDRAW AS COUNSEL FOR
       Drone World, LLC, Stephen Paul        )   DEFENDANTS AND
 14    McKenna, and DOES 1-10, inclusive,    )   COUNTERCLAIMANTS
                                             )
 15                Defendants.               )
                                             )
 16                                          )
       Drone World, LLC and Stephen Paul     )
 17    McKenna,                              )
                                             )
 18                Counterclaimants,         )
       v.                                    )
 19                                          )
       Aerial West, LLC,                     )
 20                                          )
                   Counterdefendant.         )
 21                                          )
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  1        The Court, having considered the Ex Parte Motion (“Motion” (Dkt. 42)) filed
  2 in support of The Kinder Law Group, APC’s request to withdraw as counsel for
  3 Defendants and Counterclaimants, as well as the partial opposition to the Application
  4 by Plaintiff (Dkt. 43), and certain good cause appearing,
  5
  6 IT IS HEREBY ORDERED that the Motion is GRANTED IN PART as follows:
  7
  8              1. Due to the breakdown in the attorney-client relationship, which is
  9                 undisputed, it is appropriate for present counsel to withdraw as
 10                 provided herein;
 11              2. The relief requested by the Motion is Granted as to Defendant
 12                 Stephen McKenna at this time, but this Order is stayed until
 13                 December 10, 2018, until Brian Kinder files the appropriate
 14                 application substituting McKenna as a self-represented party.
 15              3. Because Defendant Drone World, LLC has filed the appropriate
 16                 application substituting new counsel, the Motion is Moot as to
 17                 Defendant Drone World, LLC. Dkt. 47.
 18              4. Brian P. Kinder shall serve a copy of this Order on Stephen McKenna
 19                 by first class mail at the known address for Defendant, and file a proof
 20                 of service with this Court by December 4, 2018.
 21        IT IS SO ORDERED.
 22
      December 3, 2018
 23   Dated                                         JOHN A. KRONSTADT
                                                    UNITED STATES DISTRICT JUDGE
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